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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


             STATE OF NEW MEXICO et al.                        )
                             Plaintiff                         )
                                v.                             )      Case No. 1:25-cv-00429-TSC
                     ELON MUSK et al.                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         The State of New Mexico                                                                                       .


Date:          02/18/2025                                                                /s/ James Grayson
                                                                                          Attorney’s signature


                                                                              James Grayson, Government Attorney
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